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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

                          CASE NO: 23-CR-80101-CANNON

  UNITED STATES OF AMERICA,

  vs.

  CARLOS DE OLIVEIRA,
                  Defendant.
  ____________________________/

              MOTION TO APPEAR PRO HAC VICE,
          CONSENT TO DESIGNATION, AND REQUEST TO
    ELECTRONICALLY RECEIVE NOTICES OF ELECTRONIC FILING

        In accordance with Local Rules 4(b) of the Rules Governing the Admission,

  Practice, Peer Review, and Discipline of Attorneys of the United States District

  Court for the Southern District of Florida, the undersigned respectfully moves for

  the admission pro hac vice of John S. Irving, Esq., of the law firm of E & W Law,

  1455 Pennsylvania Avenue, NW, Suite 400, Washington, DC 20004, Telephone:

  301.807.5670, for purposes of appearance as co-counsel on behalf of Carlos De

  Oliveira in the above-styled case only, and pursuant to Rule 2B of the CM/ECF

  Administrative Procedures, to permit John S. Irving, Esq. to receive electronic

  filings in this case, and in support thereof states as follows:

        1.     John S. Irving, Esq. is not admitted to practice in the Southern District

  of Florida and is a member in good standing of the U.S. District Court for District

  of Columbia.
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        2.      Movant, Larry Donald "Donnie" Murrell, Jr., Esq., of the Law Firm of

  L.D. Murrell, P.A., 400 Executive Center Drive, Suite 201, West Palm Beach,

  Florida 33401, 561.686.2700, is a member in good standing of The Florida Bar and

  the United States District Court for the Southern District of Florida and is

  authorized to file through the Court's electronic filing system. Movant consents to

  be designated as a member of the Bar of this Court with whom the Court and

  opposing counsel may readily communicate regarding the conduct of the case, upon

  whom filings shall be served, who shall be required to electronically file and serve

  all documents and things that may be filed and served electronically, and who shall

  be responsible for filing and serving documents in compliance with the CM/ECF

  Administrative Procedures.       See Section 2B of the CM/ECF Administrative

  Procedures.

       3.       In accordance with the local rules of this Court, John S. Irving, Esq. has

 made payment of this Court's $200 admission fee. A certification in accordance

 with Rule 4(b) is attached hereto.

       4.       John S. Irving, Esq. by and through designated counsel and pursuant to

 Section 2B CM/ECF Administrative Procedures, hereby requests the Court to

 provide Notice of Electronic Filings to John S. Irving, Esq. at email address:

 John.Irving@earthandwatergroup.com.

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       WHEREFORE, Larry Donald "Donnie" Murrell, Jr., Esq., moves this Court

 to enter an Order allowing John S. Irving, Esq. to appear before this Court on behalf

 of Carlos De Oliveira, for all purposes relating to the proceedings in the above-

 styled matter and directing the Clerk to provide notice of electronic filings to John S.

 Irving, Esq.

       Dated: August 10, 2023.

                                   Respectfully submitted,

                                       /s Larry Donald Murrell, Jr.
                                   ____________________________________
                                   LARRY DONALD MURRELL, JR., ESQ.
                                   FLORIDA BAR NO: 326641
                                   400 Executive Center Drive
                                   Suite 201—Executive Center Plaza
                                   West Palm Beach, FL 33401
                                   Telephone: 561.686.2700
                                   Facsimile: 561.686.4567
                                   Email: ldmpa@bellsouth.net
                                   Attorney for Defendant De Oliveira

                            CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing Motion

  to Appear Pro Hac Vice, Consent to Designation and Request to Electronically

  Receive Notices of Electronic Filings was served by electronic mail, on this 10th

  day of August, 2023, on all counsel or parties of record on the service list.




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                                       /s Larry Donald Murrell, Jr.
                                    ____________________________________
                                    LARRY DONALD MURRELL, JR., ESQ.
                                      SERVICE LIST

                          U.S.A. vs. CARLOS DE OLIVEIRA
                          CASE NO: 23-CR-80101-CANNON
                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

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  Attorneys for Plaintiff, USA
  Via Notice of Electronic Filing
  Generated by CM/ECF




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